Case 2:10-cr-00026-JMS-CMM          Document 320        Filed 07/29/11     Page 1 of 5 PageID #:
                                          1091



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

 UNITED STATES OF AMERICA,                       )
      Plaintiff,                                 )
                                                 )
        vs.                                      )     2:10-cr-00026-JMS-CMM
                                                 )
 JOSE VASQUEZ-SILVA,                             )     -01
   A/K/A LUIZ LERMA SILVA,                       )
   A/K/A JAIME,                                  )
   A/K/A SKINNY,                                 )
 PEDRO SAUL TRIGO-LOPEZ,                         )     -02
 RUBEN ECHAVARRIA,                               )     -03
   A/K/A JULIO CESAR ZAMORA,                     )
   A/K/A GUATEMALA,                              )
 MARIO NOE AGUAYO-ASCAZAR,                       )     -04
   A/K/A NELLO,                                  )
 MINDY WHITE,                                    )     -05
 ANTHONY NAIL,                                   )     -06
 ROBBIE L. BURRIS,                               )     -09
   A/K/A COUNTRY GUY,                            )
 JAMES G. DECKER,                                )     -11
 JEREMY D. MANDABACH,                            )     -12
  A/K/A TRACKS GUY,                              )
 HEIDI LOPEZ-JARRA,                              )     -13
 WBALDO CORONADO RAMIREZ,                        )     -15
 EDDIE WAYNE GRISHAM,                            )     -17
 PABLO LNU,                                      )     -18
 CHARLENE CHAMBERS,                              )     -19
        Defendants.                              )

                                             ORDER

        Presently pending before the Court is all Defendants’ motion for intra-district transfer.

 [Dkt. 256].1




 1
   Defendant Adam R. Lett, who originally filed the motion, has a pending petition to enter a plea
 of guilty. [Dkt. 286.] At the most recent status conference, however, the remaining Defendants
 indicated that they wished to proceed with the motion on their own behalf. [Dkt. 306.]

                                               -1-
Case 2:10-cr-00026-JMS-CMM            Document 320        Filed 07/29/11      Page 2 of 5 PageID #:
                                            1092



                                           BACKGROUND

         In December 2010, a grand jury sitting in the Terre Haute Division returned a multi-count

 indictment that charges the Defendants with running a methamphetamine-distribution conspira-

 cy, along with several ancillary crimes. [See dkt. 1.]

         The Defendants ask to have their case transferred from the Terre Haute Division to the

 Indianapolis Division for trial, which is currently scheduled for October 3, 2011. Among other

 things, they worry that they will be unable to obtain an unbiased jury in the Terre Haute Divi-

 sion, for several reasons.

         First, they note that Terre Haute’s unfortunate familiarity with methamphetamine traf-

 ficking and abuse prevented the Court from obtaining a full complement of trial jurors from the

 venire in the methamphetamine prosecution of United States v. Perez, 2:10-cr-0008-M/L on the

 first try in July 2007. The Government points out, however, that after declaring a mistrial, the

 Court was able to seat a jury in the case on its next try in Terre Haute. [Dkt. 276 at 4.] The Court

 has also selected juries in other, later methamphetamine cases in Terre Haute. See, e.g., United

 States v. Moody, 2:09-cr-0009-WTL-CMM-2, dkt. 144 (July 19, 2010 trial jury successfully em-

 panelled).

         Second, the Defendants have presented evidence that their case has received pre-trial

 publicity in Terre Haute: Using a Google search, they have turned up eight articles from three

 different news sources from December 2010 to June 2011, with the most recent being in March

 2011. [Dkt. 250-1.] No reporters have, however, ever attended any of the status conferences in

 this case to date.

         Third, the Defendants worry about the upcoming ten-year anniversary of the attacks of

 September 11. The local Terre Haute paper published an article in June 2011 entitled: “Meth’s

 link to al-Qaida its ‘dirty little secret’ [/] U.S. Attorney says profits from drug help fund terror-
                                                 -2-
Case 2:10-cr-00026-JMS-CMM             Document 320         Filed 07/29/11      Page 3 of 5 PageID #:
                                             1093



 ism” [Dkt. 293-1.] The article includes a quote from the Assistant U.S. Attorney assigned to this

 case, who was speaking at a seminar at Indiana State University. The AUSA is reported to have

 stated that a methamphetamine conspiracy prosecution in 2002 unearthed evidence that drug

 proceeds were going to al-Qaida: “‘What we had was meth addicts in Terre Haute financing

 Osama bin Laden,’ Blackington said.” [Id. at 2.] The article was republished the next day by the

 newspaper in Effingham, Illinois, which is 67 miles from Terre Haute. [Dkt. 293 at 4.] In re-

 sponse to the Defendants’ allegations that the substance of the article was “explosive,” the Gov-

 ernment has, by surreply, collected national news stories from the national mainstream media

 that documented that connection, as well as government sources (like congressional hearings)

 that have documented the general connection between methamphetamine and international ter-

 rorism. [Dkt. 307 at 2-3.]

        Finally, albeit without citation to any evidence, the Defendants assert: “Many of the de-

 fendants have criminal records that are readily available to the media for publication. The media

 outlets in the Terre Haute division do publish this information on the eve of trials occurring in

 the state and federal courts in the division.” [Dkt. 256 at 2.]

                                              DISCUSSION

        Because the Defendants have no constitutional right to have their case heard in any par-

 ticular division within this District, United States v. Reynolds, 64 F.3d 292, 296 (7th Cir. 1995)

 (citations omitted), Federal Rule of Criminal Procedure 18 controls the Defendants’ motion for

 intra-district transfer. As is relevant here, the Rule provides: “The court must set the place of trial

 within the district with due regard for the convenience of the defendant, any victim, and the wit-

 nesses, and the prompt administration of justice.” Fed. R. Crim. Pro. 18.

        Although the considerations under Rule 18 can be broad enough to justify a change of

 division to obviate difficulties in picking an unbiased trial jury, United States v. Balistrieri, 778
                                                  -3-
Case 2:10-cr-00026-JMS-CMM              Document 320       Filed 07/29/11       Page 4 of 5 PageID #:
                                              1094



 F.2d 1226, 1229 (7th Cir. 1985), the present record does not establish a need to change divisions

 for that reason here. With careful voir dire, as the Court’s experience has shown, unbiased trial

 juries in methamphetamine cases are available in the Terre Haute Division, notwithstanding the

 scope of the methamphetamine problem in Terre Haute and any general practices of the local

 press in reporting about the trials of those cases. With respect to this case in particular, given the

 lack of any recent press coverage of it, the lack of any allegedly inflammatory information that

 past press coverage of this case has uncovered, and the fact that an additional two months remain

 before trial for the effects of past press coverage to dissipate, the Court is currently confident that

 an unbiased jury can be seated here. While the June local press article referring to possible con-

 nections between methamphetamine and terrorism is unfortunate in light of this pending case,

 there is no evidence of bad faith on the Government’s part in that regard.2 Further, the fact that

 the trial in this action will occur in October, rather than September, and the fact that the Court

 will be vigilant during trial for inappropriate, explicit or implicit references to terrorism mean

 that the Defendants will not suffer any prejudice from that article, which did not identify any of

 these Defendants by name.

        The Defendants advance other arguments, too, about why a transfer to Indianapolis

 would be appropriate, arguments that relate to convenience to the parties, to witnesses, and ad-

 ministrative convenience. But those arguments are premature at this point, given the time that

 remains before trial. In that time, agreements between the parties may significantly streamline

 the case from its present condition.




 2
  The Government is, however, urged to exercise suitable restraint as the trial date approaches to
 avoid making public statements that may complicate the jury selection process.

                                                  -4-
Case 2:10-cr-00026-JMS-CMM            Document 320          Filed 07/29/11     Page 5 of 5 PageID #:
                                            1095



                                            CONCLUSION

        The Defendants’ motion for intra-district transfer, [dkt. 256], is DENIED to the extent

 that it seeks a transfer based on the alleged inability to pick an unbiased jury. It is DENIED AS

 PREMATURE, and thus without prejudice, to the extent that it seeks a transfer based upon con-

 venience to the parties or witnesses or upon considerations of administrative convenience. The

 Defendants may renew their motion on those presently premature grounds up to twenty-one

 days before the final pre-trial conference in this case.

          07/29/2011
                                                                _______________________________

                                                                  Hon. Jane Magnus-Stinson, Judge
                                                                  United States District Court
                                                                  Southern District of Indiana



 Distribution to all counsel of record via CM/ECF.




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